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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
ARIES-OBA EL,
Plaintiff,
Vv. Case No. 3:20-cv-30-J-20JIRK
FLORIDA HIGHWAY PATROL, DUVAL
COUNTY COURT, STATE OF FLORIDA,
And TROOPER: THOMAS JEFFREY,
Badge No. 4140: Troop G,

Defendants
/

ORDER

THIS CAUSE is before this Court following a Report and Recommendation, entered May
19, 2020, that recommends this case be dismissed without prejudice. (Dkt 6).

Plaintiff Aries-Oba El filed a pro se Complaint and an application to proceed in forma
pauperis. (Dkts 1 & 2, respectively). United States Magistrate Judge James R. Klindt denied
Plaintiff's application as deficient and directed Plaintiff to properly complete and file an
application no later than February 14, 2020 or pay the filing fee. (Dkt. 3). Judge Klindt also noted
the Complaint appeared frivolous and, that as pled, the Court lacked subject matter jurisdiction.
(Id.). Accordingly, Judge Klindt also directed Plaintiff to file an amended complaint by February
14, 2020. Ud.).

Plaintiff did not file an amended complaint. On February 21, 2020, Judge Klindt ordered
Plaintiff to show cause why the case should not be recommended for dismissal for want of
prosecution. (Dkt. 5). He also directed Plaintiff to file an amended complaint no later than March

23, 2020 and warned that failure to timely comply with his directives would result in a
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recommendation of dismissal without additional notice. (Dkt. 5).

Plaintiff never responded to Judge Klindt’s Orders, paid the filing fee, or sought an
extension of time to comply with Court Orders.! Accordingly, Judge Klindt recommends the case
be dismissed for failure to prosecute. (Dkt. 6).

No objections were filed to the Report and Recommendation as required.” After an
independent review of the record and upon consideration of the Report and Recommendation, this
Court finds that it is not clearly erroneous or contrary to the law and adopts the same in all respects.

Accordingly, it is hereby ORDERED:

1. The Magistrate Judge’s Report and Recommendation (Dkt. 6) is ADOPTED;

2. Plaintiff's “Application to Proceed in District Court Without Prepaying Fees or
Costs (Long Form)” (Dkt. 2) is DENIED;

3. The case is DISMISSED without prejudice; and

4. The Clerk is DIRECTED to terminate all pending motions and close this case.

DONE AND ENTERED at Jacksonville, Florida, this Givsy of June, 2020.

Copies to:
Hon. James R. Klindt
Aries-Oba El, pro se
P.O. Box 40282
Jacksonville, FL 3220

 

 

' In light of the COVID-19 pandemic, Judge Klindt did not enter the Report and Recommendation
(Dkt. 6) until May 19, 2020, allowing Plaintiff time to respond beyond what was stated in the
Show Cause Order (Dkt. 5).

2 See footnote 1 of the Report and Recommendation. (Dkt. 6).

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